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 3   17272 Newhope Street
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 4   Tel: (949) 463-2727
 5
     Counsel for Defendant
 6
 7                       UNITED STATES DISTRICT COURT
 8                     MIDDLE DISTRICT OF PENNSYLVANIA
 9
10
     ADRIANNE GRZYBOWSKI,                   Case No. 3:2022-cv-01611-MCC
11
                    Plaintiff,              Hon. Martin C. Carlson
12
13         v.                               DEFENDANT’S ANSWER TO
                                            PLAINTIFF’S COMPLAINT
14   TAX RISE, INC.
15                  Defendant.              Complaint filed: October 13, 2022
16                                          Trial Date: None Set
17
18       Defendant TAX RISE, INC. (“Defendant”) now answers Plaintiff’s
19   Complaint (the “Complaint”) against it, as follows:

20   Except as expressly admitted or qualified hereafter, Defendant denies each and
21   every allegation of the Complaint.
22
                                     JURISDICTION
23
     1.    This action arises of Defendant’s repeated violations of the Telephone
24   Consumer Protection Act, 47 U.S.C. § 227, et. Seq. (the “TCPA”) and 47 C.F.R.
25   §64.1200(c)(2).
26
           Answer: Defendant admits to the jurisdiction of the Court based on the
27
     TCPA regulations. Defendant denies the remaining allegations in Paragraph 1.
28
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 1
 2   2.   Venue is proper in this District pursuant to 28 U.S.C. § 139(b), in that the
     Defendant transacts business in this district and a substantial portion of the acts
 3   giving rise to this action occurred in this District.
 4
 5         Answer: Defendant admits to the allegations contain in paragraph 2.

 6                                            PARTIES
 7
     3.   The Plaintiff, Adrianne Grzybowski (“Plaintiff”), is an individual residing in
 8   Wilkes Barre, Pennsylvania, and is a “person” as defined by 47 U.S.C. § 153(39).
 9
10         Answer: Defendant admits on information and belief that Plaintiff is an
11   “individual.” With respect to the remaining allegations in paragraph 3, Defendant
12   lacks information or knowledge sufficient to form a belief as to the truth of the
13   reminder allegations and therefore denies the remainder of the allegations.
14
15
16   4.     Defendant Tax Rise, Inc. (“Defendant”), is a California business entity with
     an address of 19900 MacArthur Boulevard, Suite 400, Irvine, California 92612, and
17   is a “person” as defined by 47 U.S.C. § 153(39).
18
           Answer: Defendant admits to the allegations contain in paragraph 4.
19
20
21
                     THE NATIONAL DO-NOT-CALL REGISTRY
22
23   5.     The National Do-Not-Call Registry allows consumers to register their
     telephone number and therby indicate their desire not to receive telephone
24   solicitations at those numbers. See 47 C.F.R. § 64.1200(c)
25
           Answer: Defendant admits the allegations contain in paragraph 5.
26
27   6.     A listing on the Do-Not-Call Registry “must be honored indefinitely, or until
28   the registration is cancelled by the consumer or the telephone number is removed
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 1   by the database administrator.” Id.

 2
           Answer: Defendant admits to the allegations contained in paragraph 6.
 3
 4   7.    The TCPA and implementing regulations prohibit the initiation of the
 5   telephone solicitations to residential telephone subscribers to the Do-Not-Call
     Registry and provides a private right of action against any entity that initiated more
 6   than one such telephone solicitation within any 12-month period. 47 U.S.C. §
 7   227(c)(2); 47 C.F.R. §64.1200(c)(2).
 8
           Answer: Defendant admits to the allegations contained in paragraph 7.
 9
10
     8.     Telephone solicitations under 47 C.F.R. § 64.1200(c)(2) include text
11   messages. See Gulden v. Liberty Home Guard LLC. 2021 WL 689912, at *4-5 (D.
12   Ariz. Feb. 23, 2021).

13
           Answer: Defendant admits to the allegations contained in paragraph 8.
14
15
                                   FACTUAL ALLEGATIONS
16
17   9.    Plaintiff’s cellular number, 570-XXX-6427, has been registered with the
18   national Do-Not-Call Registry since February 2, 2007.

19
           Answer: Defendant denies knowledge or information sufficient to form a
20
     belief as to the truth of the allegations contained in paragraph 9 and therefore
21
     currently denies them.
22
23   10. Plaintiff does not have a separate residential telephone number and uses the
24   cellular telephone as a residential telephone number.

25
           Answer: Defendant denies knowledge or information sufficient to form a
26
     belief as to the truth of the allegations contained in paragraph 10 and therefore
27
     currently denies them.
28
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 1
 2   11. Within the last year, Defendant initiated telephone solicitations to Plaintiff’s
     cellular telephone by sending repeated text messages to Plaintiff’s cellular
 3   telephone regarding assistance with tax debt.
 4
 5         Answer: Defendant denies the allegations contained in paragraph 11.

 6   Defendant secures its costumers’ consent prior to initiate any type of

 7   communication with them.

 8
     12. In January 2021 and multiple times, plaintiff replied to Defendant’s texts
 9   with “STOP.”
10
11         Answer: Defendant denies knowledge or information sufficient to form a

12   belief as to the truth of the allegations contained in paragraph 12 and therefore

13   currently denies them. Defendant secures its costumers’ consent prior to initiate any

14   type of communication with them.

15
     13. Despite Plaintiff’s unequivocal instructions that Defendant stop all text
16   messages, Defendant did not cease its telemarketing text messages to Plaintiff’s
17   cellular telephone within a reasonable amount of time.
18
           Answer: Defendant denies knowledge or information sufficient to form a
19
     belief as to the truth of the allegations contained in paragraph 13 and therefore
20
     currently denies them. Defendant secures its costumers’ consent prior to initiate any
21
     type of communication with them.
22
23   14. Plaintiff continued to receive the unwanted text message solicitations from
24   Defendant through mid-March 2021.
25
26         Answer: Defendant denies knowledge or information sufficient to form a

27   belief as to the truth of the allegations contained in paragraph 14 and therefore

28
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 1   currently denies them. Defendant secures its costumers’ consent prior to initiate any
 2   type of communication with them.
 3
 4                                           COUNT 1
 5                                VIOLATIONS OF THE TCPA
 6                   (47 U.S.C. § 227, et seq. and 47 C.F.R. § 64.1200(c)(2))
 7
 8   15. The Plaintiff incorporates by reference all the above paragraphs of this
     Compliant as though fully stated herein
 9
10
           Answer: Defendant incorporates its responses in all the above paragraphs of
11
     this answer as though fully stated herein.
12
13   16. 47 C.F.R. § 64.1200(c)(2) provides that “No person or entity shall initiate
14   any telephone solicitation to … (2) A residential telephone subscriber who has
     registered his or her telephone number on the national do-not-call registry of
15   persons who do not wish to receive telephone solicitations that is maintained by the
16   Federal government. Such do-not-call registrations must be honored indefinitely, or
     until the registration is cancelled by the consumer or the telephone number is
17   removed by the database administrator.”
18
19         Answer: Defendant admits to the allegations contained in paragraph 16.

20
     17. The TCPA provides a private right of action to “A person who has received
21   more than one telephone call within any 12-month period by or on behalf of the
22   same entity in violation of the regulations ….” 47 U.S.C. § 227(c)(2).
23
           Answer: Defendant admits the allegations contained in paragraph 17.
24
25   18. Defendant knowingly and willfully violated 47 U.S.C. § 227, et seq. and 47
     C.F.R. § 63.1200(c)(2) by initiating more than one telephone solicitation text
26
     messages to Plaintiff’s cellular telephone within a 12-month period despite the fact
27   that Plaintiff’s cellular telephone was registered on the National Do-Not-Call
28   Registry at all relevant times.
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 1         Answer: Defendant denies the allegations contained in paragraph 18 in its
 2   entirety. Defendant secures its costumers’ consent prior to initiate any type of
 3   communication with them.
 4
 5   19.   Plaintiff is entitled to an award of $500.00 in statutory damages for each text
 6   message sent by the Defendant in violation of the TCPA pursuant to 47 U.S.C. §
 7   227(b)(3)(B).
 8
           Answer: Defendant denies the allegations contained in paragraph 19 in its
 9
     entirety. Defendant secures its costumers’ consent prior to initiate any type of
10
     communication with them.
11
12
     20. Plaintiff is entitled to an award of treble damages in an amount up to
13   $1,500.00 for each text message Defendant sent to Plaintiff that constitutes a
     knowing and/or willful violation of the TCPA pursuant to 47 U.S.C. §
14
     227(b)(3)(C).
15
16         Answer: Defendant denies the allegations contained in paragraph 20.
17   Defendant secures its costumers’ consent prior to initiate any type of
18   communication with them.
19
                                  PRAYER FOR RELIEF
20
           WHEREFORE, the Plaintiff prays that judgment be entered against the
21
     Defendant as follows:
22
23                    A.       Statutory damages of $500.00 for each violation
                               determined to be negligent pursuant to 47 U.S.C. §
24                             227(b)(3)(B);
25
           Answer: Defendant denies the allegations contained in number A.
26
                      B.       Treble Damages for each violation determined to be
27                             willful and/or knowing pursuant to 47 U.S.C. §
28                             227(b)(3)(c); and
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 1           Answer: Defendant denies the allegations contained in number B.

 2                      C.       Such other and further relief as may be just and proper.
 3
             Answer: Defendant denies the allegations contained in number C.
 4
 5                                       JURY DEMAND
 6
             Defendant hereby demands a trial by jury on all issues so triable.
 7
 8                                AFFIRMATIVE DEFENSES
 9
             Pursuant to Federal Rule of Civil Procedure 8(c), and without assuming any
10
     burdens of proof or persuasion that would otherwise rest on Plaintiff, Defendant
11
     asserts the following affirmative defenses. Defendant reserves all rights to assert
12
     additional or amended defenses:
13
14   1.      The Complaint fails to state a claim upon which relief may be granted.
15
     2.      Plaintiff’s claims are barred, in whole or in part, for lack of any actual injury
16
             or standing to assert a claim.
17
18   3.      Plaintiff’s damages, if any, were caused, in whole or in part, by the actions
19           and/or inactions of third parties and/or intervening causes over which
20           Defendant has no control.
21
22   4.      Plaintiff has not been damaged.

23
     5.      Plaintiff’s claims are barred, in whole or in part, by her prior express
24
             consent.
25
26   6.      Plaintiff’s claims for damages constitute an excessive fine and violates
27           Defendant’s due process rights under the Fifth, Eighth, and Fourteenth
28
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 1           Amendments to the United States Constitution.
 2
     7.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean
 3
             hands.
 4
 5   8.      Plaintiff’s claims are barred, in whole or in part, because any award would
             constitute unjust enrichment.
 6
 7   9.      Plaintiff’s claims are barred, in whole or in part, because Defendant did not
             willfully or knowingly violate the Telephone Consumer Protection Act of
 8
             1991 or any of its regulations.
 9
     10.     Plaintiff’s claims are barred, in whole or in part, because Defendant
10
             substantially complied with the Telephone Consumer Protection Act of 1991
11           and its regulations.
12
     11.     Defendant reserves the right to assert additional affirmative defenses as they
13
             are discovered through the course of discovery.
14
15           WHEREFORE, Defendant respectfully requests that the Court:
16
                   a. Dismiss all of Plaintiff’s claims against Defendant with prejudice
17
                       and on the merits;
18
19
                   b. That Plaintiff take nothing by the Complaint;
20
21                 c. Award Defendant all costs, disbursements, and reasonable attorney
22                     fees allowed by law; and
23
24                 d. Grant Defendant any such further relief to which it may be entitled.

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 1   Dated: December 2, 2022             ANTHONY MARCUS LAW FIRM

 2
 3                                       By: /s/Anthony Marcus
                                            Anthony L. Marcus
 4                                          Counsel for Defendant
 5
 6
 7
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                                   PROOF OF SERVICE
 1
 2
                  I, Anthony L Marcus, certify and declare that I am an active member
 3
     of the State Bar of California and am not a party to this action. My business address
 4
     is: Anthony Marcus Law Firm, 17272 Newhope Street Fountain Valley, CA 90708.
 5
           On December 05, 2022, I served a true and correct copy of:
 6         DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
 7         on the Party(ies) in this action as follows:
 8
     Jody B. Burton, Esq.                               Attorneys for Plaintiff,
 9   Lemberg Law, L.L.C.                                Adrianne Grzybowski
     43 Danbury Road, 3rd Floor
10   Wilton, CT 06897
     jburton@lemberglaw.com
11
12         (VIA U.S. MAIL) In accordance with the regular mailing collection and
           processing practices of this office, with which I am readily familiar, by
13         means of which mail is deposited with the United States Postal Service at
14         Fountain Valley California that same day in the ordinary course of business,
           I deposited such sealed envelope, with postage thereon fully prepaid, for
15         collection and mailing on this same date following ordinary business
16         practices, addressed as set forth above.

17
           (BY ELECTRONIC SERVICE) I caused service of the foregoing
18         document(s) to be sent on the above-mentioned date. I monitored the
           transmission of the electronic service thereafter. I found no indication of a
19         return or failure of said transmission to the e-mail address(es) listed below, as
           follows:
20
21
           I declare under the penalty of perjury under the laws of the State of
22   California, that the above is true and correct.
23   DATE: December 05, 2022
24
25                                                    /s/ Anthony Marcus

26                                                    Anthony Marcus

27
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